Case 2:05-cr-20037-BBD Document 10 Filed 08/18/05 Page 1 of 2 Page|D 6
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UNITED sTATEs DISTRICT COURT DATE 03 1 05

WESTERN DISTRICT OF TENNESSEE HME 3 file ¢FW]
Western Division 3

lNIT|ALS:
UNITED STATES OF AMERICA
-vs- Case No. 2:05cr20037-001B

CEDRIC BROOKS

 

ORDER APPOINTING COUNSEL PURSUANT TO
'I`HE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

- The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, TN, this 18“‘ day of August, 2005.

:~</;‘” alma @~

S.THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attomey

United States Marshal

Pretrial Services Off'ice

Assistant Federal Public Defender
Intake

CEDRIC BROOKS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CR-20037 Was distributed by faX, mail, or direct printing on
August 19, 2005 to the parties listed.

 

 

PDA

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Honorable J. Breen
US DISTRICT COURT

